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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF OHIO
                         WESTERN DIVISION (CINCINNATI)

M&C HOLDINGS DELAWARE                         Case No. 1:20-cv-00121-SJD-KLL
PARTNERSHIP, et al.,
                                              Judge Susan J. Dlott
       Plaintiffs,
                                              Magistrate Judge Karen L. Litkovitz
v.

GREAT AMERICAN INSURANCE
COMPANY,

       Defendant.

     PLAINTIFFS’ NOTICE OF FILING OF EXHIBITS IN SUPPORT OF MOTION FOR
                        PARTIAL SUMMARY JUDGMENT

        Pursuant to this Court’s Standing Orders, Plaintiffs M&C Holdings Delaware

Partnership, M&C Hotel Interests, Inc., M&C Management Services (USA), Inc., CDL Hotels

(USA), Inc. and RHM-88, LLC (“Millennium”) give notice of the filing of the attached exhibits

in support of their motion for partial summary judgment against Defendant Great American

Insurance Company (“Great American”) on the issue of coverage under the relevant insurance

policy issued by Great American.

                                                  Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       In accordance with Local Rule 5.2(b), the undersigned hereby certifies that this document

is being filed using the Court’s CM/ECF system, which will generate a NEF by electronic mail

to all counsel of record who are filing users.


                                                 /s/ Bryce A. Lenox
                                                 Bryce A. Lenox




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